Case 1:03-md-01570-GBD-SN Document 2025 Filed 08/}0/04+-Pace--ef2

Case 1:03-md-01570-GBD-FM Document 1136 Filed 08/1 PSPC BDAY or
ELECTRONICALLY FILED

re Ny i fo

tO
UNITED STATES DISTRICT COURT |p ALE E FILED: G18 ot
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11, | 03 MDL 1570 (cap)
2001 ECF Case

This document relates to: Estate of John P. O’Neill, Sr., ef ai. v. Kingdom of Saudi
Arabia, et al., 04 CV 01922(GBD)

ORDER

AND NOW, this _ day of August, 2007 upon consideration of the Plaintiffs’
Motion to Withdraw Without Prejudice, Certain Amended RICO Statements, consented
to by counsel for the Saudi Defendants, it is hereby ORDERED that this Motion is
GRANTED. The Clerk shall remove the following documents from the docket: 1)
Amended RICO Statement Applicable to the Council of Ministers for the Kingdom of
Saudi Arabia - MDL Docket # 1090, KSA Docket # 77; 2) Amended RICO Statement
Applicable to the Directorate of Intelligence for the Kingdom of Saudi Arabia - MDL
Docket #1088, KSA Docket # 75; 3) Amended RICO Statement Applicable to the
General Staff for the Kingdom of Saudi Arabia - MDL Docket # 1080, KSA Docket #70;
4) Amended RICO Statement Applicable to the Kingdom of Saudi Arabia - MDL Docket

#1089, KSA Docket #76; 5) Amended RICO Statement Applicable to the Ministry of

Case 1:03-md-01570-GBD-SN Document 2025 Filed 08/10/07 Page 2 of 2
Case 1:03-md-01570-GBD-FM Document1136 Filed 08/18/2005 Page 2 of 6

Interior for the Kingdom of Saudi Arabia - MDL Docket #1079, KSA Docket #71; 6)
Amended RICO Statement Applicable to the Ministry of State for Internal Affairs for the
Kingdom of Saudi Arabia - MDL Docket #1086, KSA Docket # 73; 7) Amended RICO
Statement Applicable to the Saudi Committee for the Support of the Intifada for the
Kingdom of Saudi Arabia - MDL Docket #1091, KSA Docket #78; 8) Amended RICO
Statement Applicable to the Special Committee of the Council of Ministers for the
Kingdom of Saudi Arabia - MDL Docket # 1081, KSA Docket # 72; 9) Amended RICO
Statement Applicable to the Supreme Council of Islamic Affairs for the Kingdom of
Saudi Arabia - MDL Docket #1087, KSA Docket # 74; 10) Amended RICO Statement
Applicable to the Intelligence Section (G-2) for the Kingdom of Saudi Arabia - MDL

Docket #1108, KSA Docket # 79.

BY THE COURT:
‘AUG 10 207

B Puke

HON. GEORGE B. DANIELS

2

XAClients\ONeill v. Saudi arabia\Motions\Motion to Withdraw Amended RICO Statements -\KSA - final.doc
